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  4
  Entered on Docket
__________________________________________________________________
  5August 30, 2013
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  7
  8   WRIGHT, FINLAY & ZAK, LLP
  9   Dana Jonathon Nitz, Esq.
      Nevada Bar No. 00050
 10   Christopher L. Benner, Esq.
      Nevada Bar No. 008963
 11
      5532 South Fort Apache Road, Suite 110
 12   Las Vegas, NV 89148
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 13   dnitz@wrightlegal.net
      Attorneys for Secured Creditor, Seterus, Inc.
 14
      as the authorized subservicer for
 15   Federal National Mortgage Association (“Fannie Mae”),
      c/o Seterus, Inc.
 16
 17                         UNITED STATES BANKRUPTCY COURT

 18                                   DISTRICT OF NEVADA

 19
 20
      In re:                                         Case No.: 11-10391-led
 21   JOHN E. HARNEY, IV                             Chapter: 11
      AIMEE M. HARNEY
 22                                                  ORDER GRANTING MOTION TO
 23                                                  APPROVE LOAN MODIFICATION
                                Debtors.
 24                                                  Hearing Date: August 27, 2013
                                                     Hearing Time: 9:30 a.m.
 25
 26
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      ______________________________________
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 1          The Motion to Approve Loan Modification filed by Seterus, Inc. as the authorized
 2   subservicer for Federal National Mortgage Association (“Fannie Mae”), c/o Seterus, Inc., its
 3   servicers, assignees and/or successors in interest, coming on regularly for hearing on August 27,
 4   2013, after notice duly given, with no opposition being filed, and the Court having heard the
 5   argument of Counsel, and being otherwise informed, it is hereby:
 6          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Motion to
 7   Approve Loan Modification regarding the real property located at 7430 Bachelors Button Drive,
 8   Las Vegas, NV 89131 is hereby granted with the terms set forth in Exhibit “A” attached to the
 9   Motion to Approve Loan Modification for the Real Property Located at7430 Bachelors Button
10   Drive, Las Vegas, NV 89131.
11          IT IS SO ORDERED.
12   Respectfully Submitted by:
13   WRIGHT, FINLAY & ZAK, LLP
14   /s/ Dana Jonathon Nitz, Esq.___________
15   Dana Jonathon Nitz, Esq.
     Nevada Bar No. 00050
16   Christopher L. Benner, Esq.
     Nevada Bar No. 008963
17   5532 South Fort Apache Road, Suite 110
18   Las Vegas, NV 89148
     Attorneys for Secured Creditor,
19   Seterus, Inc. as the authorized subservicer for
     Federal National Mortgage Association (“Fannie Mae),
20   c/o Seterus, Inc.
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 1                                   RULE 9021 CERTIFICATION
 2   In accordance with LR 9021, counsel submitting this document certifies that the order accurately
 3   reflects the court’s ruling and that (check one):

 4          _____ The court has waived the requirement set forth in LR 9021(b)(1).
 5          __X__ No party appeared at the hearing or filed an objection to the motion.
 6
            _____ I have delivered a copy of this proposal order to all counsel who appeared at the
 7                hearing, and any unrepresented parties who appeared at the hearing, and each has
                  approved or disapproved the order, or failed to respond, as indicated below
 8
 9          __ __ I certify that this is a case under Chapter 7 or Chapter 13, that I have served a
                  copy of this order with the motion pursuant to LR 9014(g), and that no party has
10                objected to the form or content of the order.
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